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                        Exhibit 2
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                             Digitally signed by Duffy-Sandstrom Sabine
Duffy-Sandstrom              DN: serialNumber=Z000BJFS,
                             givenName=Sabine, sn=Duffy-Sandstrom,

Sabine                       o=Siemens, cn=Duffy-Sandstrom Sabine
                             Date: 2018.03.30 21:28:03 -04'00'




 S. Duffy-Sandstrom, VP Federal Accounts


 March 1, 2018




                   Digitally signed by Roth Christopher
                   DN: serialNumber=Z000BEGO,
Roth Christopher   givenName=Christopher, sn=Roth, o=Siemens,
                   cn=Roth Christopher
                   Date: 2018.04.02 06:52:19 -04'00'




Christopher Roth, VP Finance


 4/02/2018
